                                                                                      DISTRICT OF OREGON
                                                                                           FILED
                                                                                        December 08, 2023
                                                                                   Clerk, U.S. Bankruptcy Court



  Below is an order of the court.

  Debtor must add to the supplemental notice a statement that the supplemental notice has been
  prepared and given by debtor and not the court and that the court has authorized but not directed
  the giving of the notice. Debtor must also add a conspicuous statement that the supplemental
  notice should be read in conjunction with the Chapter 11 Notice. If given, the supplemental notice
  must be mailed in the same envelope as the Chapter11 Notice.


                                                                     _______________________________________
                                                                                DAVID W. HERCHER
                                                                               U.S. Bankruptcy Judge




                           UNITED STATES BANKRUPTCY COURT

                                     DISTRICT OF OREGON

In re                                                        Case No. 23-62260-dwh11

Van’s Aircraft, Inc.,                                        ORDER AUTHORIZING
                                                             SUPPLEMENTAL NOTICE OF
                        Debtor.                              CLAIMS BAR DATE


          THIS MATTER having come before the Court on Debtor's Motion For Order

Authorizing Supplemental Notice of Claims Bar Date [ECF No. 10], and it appearing to the

Court that it is desirable to supplement the notice of claims bar date to certain potential creditors

and parties in interest; now therefore,

          IT IS HEREBY ORDERED that Debtor is authorized to mail or publish (in a physical or

digital format) a supplemental notice of claims bar date in the form attached hereto as Exhibit A.

Debtor shall file a certificate of service related to its mailing and publishing of the supplemental

notice.

                                                    ###




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                                           TONKON TORP LLP
                                     888 SW FIFTH AVE., SUITE 1600
                                         PORTLAND, OR 97204
                                            503.221.1440


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I certify that I have complied with the requirements of LBR 9021-1(a).

Presented by:

TONKON TORP LLP

By    /s/ Ava Schoen
     Timothy J. Conway, OSB No. 851752
     Michael W. Fletcher, OSB No. 010448
     Ava Schoen, OSB No. 044072
     888 SW Fifth Avenue, Suite 1600
     Portland, OR 97204-2099
     Telephone:     (503) 221-1440
     Facsimile:     (503) 274-8779
     Email: tim.conway@tonkon.com
     Attorneys for Debtor




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                                         TONKON TORP LLP
                                   888 SW FIFTH AVE., SUITE 1600
                                       PORTLAND, OR 97204
                                          503.221.1440


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  EXHIBIT A
Form of Supplemental Notice




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                             UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF OREGON

 In re                                                        Case No. 23-62260-dwh11

 Van’s Aircraft, Inc.,                                        SUPPLEMENTAL NOTICE OF
                                                              CLAIMS BAR DATE
                          Debtor.




                                    NOTICE
         THIS IS AN IMPORTANT NOTICE – YOUR RIGHTS MAY BE AFFECTED.

            _________, 2024 IS THE LAST DATE TO FILE PROOF OF CLAIM.

 Please take notice that the United States Bankruptcy Court for the District of Oregon has issued a
 Notice of Chapter 11 Bankruptcy Case (the “Chapter 11 Notice”) which sets a deadline for parties
 to file any Claims they may have against Van’s Aircraft, Inc. (the “Debtor”). Pursuant to the
 Chapter 11 Notice, anyone who has a claim against the Debtor must file such claim by _____,
 2024.

 A “Claim” is defined, pursuant to 11 U.S.C. 101(5), as:

         (A) right to payment, whether or not such right is reduced to judgment, liquidated,
         unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
         equitable, secured, or unsecured; or

         (B) right to an equitable remedy for breach of performance if such breach gives rise
         to a right to payment, whether or not such right to an equitable remedy is reduced
         to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured,
         or unsecured.

 For purposes of clarity, the definition of “Claims” includes, but is not limited to, tort claims
 and contract claims.

                         YOU MAY HAVE A CLAIM AGAINST DEBTOR:

 Debtor has been producing aircraft components and kits since 1972. Throughout this time, Debtor
 has issued a number of service bulletins, safety directives, safety alerts, notifications, service
 letters, and change notices that relate to a number of potential issues including, but not limited to,
 corrosion, coverage of primer, cracks in structural components and laser cut parts, leaking radiators
 and fuel tanks, flutter related events, fire and carbon monoxide protection, landing gear failures,
 pitot static systems, fatigue cracking in various components, canopy or door latch systems, rollover
 protection, and brake pedal design. In addition, issues have been discussed on vansairforce.net
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                                            TONKON TORP LLP
                                      888 SW FIFTH AVE., SUITE 1600
                                          PORTLAND, OR 97204
                                             503.221.1440


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   about improper design or defect in Debtor’s parts and components. You may also have experienced
   issues with other parts or devices or may do so in the future. The definition of Claim includes any
   and all claims of any kind or nature whatsoever that you may have with respect to the above or
   any other issues involving Debtor, either now existing or arising the future, related in any way to
   Debtor or its products, services, activities, or of any other kind and nature against Debtor even if
   presently unliquidated, contingent, unmatured, disputed, undisputed, legal, equitable, secured, or
   unsecured.

                             PROCEDURES FOR FILING A CLAIM:

   A proof of claim form may be completed and filed at: https://cases.creditorinfo.com/vansaircraft

   Prior to electronically filing your proof of claim, any supporting documentation must be scanned
   and saved as a pdf image. If you are unable to scan and save your supporting documents as pdf
   images, send copies of your supporting documents to BMC after you have filed your claim and
   received a claim number. When submitting supporting documents, please include a cover page
   requesting to have the supporting documents added to your filed claim, and include your name,
   the claim number, the case name, and the case number.

   Send all copies of the documentation to:

    If by Regular Mail:                                    If by Messenger or Overnight Delivery:

    BMC Group, Inc.                                        BMC Group, Inc.
    Attn: Van’s Aircraft                                   Attn: Van’s Aircraft
    PO Box 90100                                           3732 West 120th Street
    Los Angeles, CA 90009                                  Hawthorne, CA 90250

   Please review the claim form to ensure all information entered is correctly displayed. The
   documents uploaded can also be reviewed and sorted according to relevance.

   For questions or problems, please email info@bmcgroup.com, or call 1-888-909-0100.

   IF YOU HAVE ALREADY FILED A PROOF OF CLAIM, YOU DO NOT NEED TO FILE
   ANOTHER CLAIM.

                               EFFECT OF NOT FILING A CLAIM:

   The deadline for filing proof of claim is ___, 2024. If you have a Claim and you do not file a
   Proof of Claim by that date, your Claim may be discharged. Failure to file a Claim may prevent
   you from voting on any plan of reorganization in this case. Furthermore, if your Claim is
   discharged, you will be forever prevented from asserting your Claim against the Debtor and you
   may not receive any payment or distribution on your Claim.
   043989\00001\16767103v2


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                                             TONKON TORP LLP
                                       888 SW FIFTH AVE., SUITE 1600
                                           PORTLAND, OR 97204
                                              503.221.1440




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